UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                   :
IN RE EUROPEAN GOVERNMENT BONDS    :    19 Civ. 2601 (VM)
ANTITRUST LITIGATION               :
                                   :    DECISION AND ORDER
                                   :
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VICTOR MARRERO, United States District Judge.

        Plaintiffs       Ohio    Carpenters’          Pension         Fund     (“Ohio

Carpenters”),        Boston      Retirement           System      (“BRS”),       and

Electrical Workers Pension Fund Local 103 I.B.E.W. (“Local

103,”     and    collectively         with     Ohio     Carpenters       and     BRS,

“Plaintiffs”) bring this putative antitrust class action,

on behalf of themselves and all others similarly situated,

against     defendants          Bank      of     America         Merrill        Lynch

International            Designated          Activity          Company         (“BAML

International”),          Merrill       Lynch     International              (“MLI”),

Natixis    S.A.     (“Natixis”),        NatWest       Markets     plc    (“Natwest

Markets”),          Nomura            International             plc          (“Nomura

International”),         UBS    AG,    UBS     Europe    SE     (“UBS    Europe”),

UniCredit Bank AG (“UniCredit Bank,” and collectively with

the     foregoing        defendants,         “Foreign      Defendants,”           and

collectively with all foregoing defendants except UBS AG,

“Primary        Dealer    Defendants”),          Bank     of     America,       N.A.

(“BANA”), NatWest Markets Securities Inc. (“NMSI”), Nomura

Securities International Inc. (“NSI”), UBS Securities LLC
(“UBS     Securities”),         and     UniCredit          Capital       Markets    LLC

(“UCM,”    and    collectively          with       all     foregoing      defendants,

“Defendants”). Plaintiffs purport to represent a class of

all    persons    or    entities       who      purchased        or   sold   European

Government      Bonds     (“EGBs”)         in   the      United     States   directly

from Defendants between January 1, 2007 and December 31,

2012     (the     “Class        Period”),           with      the     exception       of

Defendants, their employees and affiliates, and the United

States    government.          In    their      Third      Amended       Consolidated

Class Action Complaint, Plaintiffs claim                            that Defendants

conspired to fix EGB prices during the Class Period, in

violation of 15 U.S.C. Section 1 (the “Sherman Act”). (See

“TAC,” Dkt. No. 87.)

        By letter dated February 26, 2020, Defendants notified

Plaintiffs       of    their    intent        to    move    to    dismiss    the     TAC

pursuant to Federal Rules of Civil Procedure 12(b)(2) and

12(b)(6)         (“Rule        12(b)(2)”            and       “Rule        12(b)(6),”

respectively).         (See         “Letter        Motion,”       Dkt.    No.      110.)

Defendants argue that the TAC is untimely, fails to plead

personal    jurisdiction            over    the       Foreign       Defendants,     and

fails to adequately plead either antitrust standing or an

antitrust conspiracy as to all Defendants. By letter dated

March 11, 2020, Plaintiffs responded to the Letter Motion


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and opposed all four potential grounds for dismissal. (See

“Opposition,” Dkt. No. 114.)

      The Court now construes Defendants’ Letter Motion as a

motion to dismiss the TAC pursuant to Rules 12(b)(2) and
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12(b)(6).        For    the    reasons     set    forth   below,   the    Letter

Motion    is    GRANTED       as   to   BAML     International,    MLI,    BANA,

NatWest Markets, NMSI, UBS AG, UBS Europe, UBS Securities,

UniCredit Bank and UCM, and DENIED as to Natixis, Nomura

International, and NSI. Plaintiffs are directed to inform

the Court within twenty days of this Order whether they

have cause to amend the TAC or will instead proceed against

the   remaining        defendants:       Natixis,     Nomura    International,

and NSI.

                               I.       BACKGROUND2

A.    FACTUAL BACKGROUND

      EGBs are sovereign debt securities issued by European

central governments that have adopted the Euro as their

official       currency,      including        Austria,   Belgium,    Finland,

France,    Germany,       Italy,        Portugal,     Greece,   Ireland,    the



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  Kapitalforeningen Lægernes Invest v. United Techs. Corp., 779 F. App’x
69, 70 (2d Cir. 2019) (Mem.) (affirming district court ruling deeming
exchange of letters as motion to dismiss).
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  Except as otherwise noted, the factual background below derives from
the TAC and the facts pleaded therein, which the Court accepts as true
for the purposes of ruling on a motion to dismiss. See infra Section
II.A. Except where specifically quoted, no further citation will be
made to the TAC.
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Netherlands,     and     Spain,      among      others      (collectively,       the

“Eurozone”). EGBs are treated as a single class of debt

securities because Eurozone members share common currency,

certain “convergence criteria” that aim at the development

of an integrated financial market for the Eurozone, and

centralized institutions that set common monetary policy,

such as the European Central Bank. The European Central

Bank observed that the EGB market was highly integrated by

March 2007, as yields for Eurozone issuers’ bonds converged

due to common monetary policy and other shared factors. As

of 2012, global EGB holdings approximated $8 trillion, and

the EGB holdings of United States investors consistently

amounted to hundreds of billions of dollars throughout the

Class     Period.       Individual        EGB       transactions         were    also

sizeable,      averaging        up   to       €18     million         per    customer

transaction during the Class Period.

        EGB   markets    consequently         rely        upon   large      financial

institutions     like     the    Defendants          to    act   as    dealers    and

market makers. Defendants             generally           conduct EGB business

through their respective fixed income divisions, which are

global in nature and often include employees of multiple

entities within a given corporate family. Defendants play

multiple roles in the EGB markets. Most notably, Primary


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Dealer Defendants acquire EGBs from government issuers in

the “Primary Market,” and Defendants trade those EGBs with

other investors in the “Secondary Market.” Plaintiffs claim

that Defendants participated in a price-fixing conspiracy

encompassing both of these markets.

      1.     The Primary Market

      European        government       issuers    first       distribute    their

EGBs to institutions including Primary Dealer Defendants in

the   “Primary        Market.”    Distribution         typically     occurs   via

auction, though the details of distribution may vary to

some extent by government issuer. Primary dealers bid on

EGBs based on price and the volume of EGBs to acquire, and

issuers typically favor dealers that pay higher prices and

commit to acquiring large volumes of EGBs for resale. As a

result, the primary dealers that consistently acquire EGBs

in the Primary Market are not particularly numerous. The

premier    trade      association       for    EGBs,    the    Association    for

Financial Markets in Europe (“AFME”), listed twenty-five

“Primary        Dealer     Members”           including       Primary      Dealer

Defendants       in    2012.      In    2008,     members      of   the    AFME’s

predecessor       trade     organization         collectively        traded    85

percent    of    all     volume    in    the     EGB   market.      Furthermore,

because the EGB market is highly integrated, Primary Dealer


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Defendants structure their EGB business so that the same

set of traders oversees activity in the various Eurozone

auctions that constitute the Primary Market.

       Plaintiffs        allege       that       Primary       Dealer     Defendants

colluded       when    bidding       for   EGBs     in     the    Primary      Market.

Because       EGB   issuers      favor     dealers       who     purchase      greater

amounts of EGBs at greater prices and then successfully

resell    those        bonds    to    other      investors,        Primary       Dealer

Defendants          allegedly        agreed       to     submit         bids     above

competitive         market     prices      and    thus     secure       greater    EGB

inventories (or other lucrative forms of business) from the

Eurozone governments. Primary Dealer Defendants allegedly

reached this agreement through the use of private online

chatrooms, in which their traders would share confidential

and    commercially            sensitive       information         about       bidding

interest and customer orders.

       Plaintiffs        use      multiple        statistical          analyses     to

illustrate how the alleged anticompetitive coordination in

the      Primary        Market        occurred.          Plaintiffs            analyzed

disparities between primary dealers’ collective bids for

Italian       and     French    government        bonds,       which     constituted

roughly 47 percent of the Eurozone’s outstanding government

debt     in    2012,     and     compared        them    to      the    prices    that


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customers indicated they would be willing to pay or receive

for the same bonds in a pre-auction “When-Issued Market.”3

       Plaintiffs     allege   that    their      analysis    of    the    EGBs’

yield-to-maturity,4 which is inversely related to the bonds’

prices, revealed an apparently anomalous trend. The yields

for EGBs to be auctioned would drop significantly during

the early morning of the day of the auction, and though

they   would   sharply    rise       again   in    the   hour      before   the

auction commenced, the final auction yield would still be

significantly lower than the fair market yield reflected in

the When-Issued Market. (TAC ¶¶ 161–73, Figures 7 & 8.) In

other words, the final auction price would be significantly

higher than the contemporaneous market price reflected in

the When-Issued Market. Market prices for the EGBs would

then   rise    throughout      the    trading      day   to   more       closely

approximate     the     higher       auction      prices.     According       to

Plaintiffs,    these    ensuing      increases     in    price     are    highly

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  The When-Issued Market is active in the weeks between a European
government issuer’s announcement of an auction for specified bonds and
the auction itself, and it reflects prospective bilateral transactions
for the corresponding EGBs between primary dealers and other investors.
According to Plaintiffs, the When-Issued Market would reflect normal
market demand for the EGBs to be auctioned. Plaintiffs further allege
that Defendants would have shared information on market yields, as
reflected in the When-Issued Market, with each other in order to bid
higher prices at the ensuing auctions.
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  A bond’s yield-to-maturity “reflects the total return on that bond if
it is held to maturity as an annual percentage . . . and allows bonds
to be compared on an apples-to-apples basis with each other.” (TAC ¶
165.)
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correlated with the extent to which dealers overbid in the

auctions.       Plaintiffs     claim    this       pattern   can   be   observed

across     the     majority     of     Italian        and    French     ten-year

government bond auctions during the Class Period.

      Plaintiffs allege that when the trends in individual

Italian     and    French     bond     auctions       are    aggregated,    they

reflect     a    distinctive     “inverted         V”-shaped    curve:     yields

increase until the time of the auctions, only to sharply

decrease towards their previous levels after the auctions.

This “auction cycle” pattern, observed in both the French

and   Italian      markets,     is     allegedly       inconsistent      with    a

competitive market for EGBs and instead reflects artificial

manipulation        by   the     Primary           Dealer    Defendants.        The

artificial auction prices would then set the benchmark for

future trading of the EGBs in the Secondary Market. (Id. at

¶¶ 174–79, Figures 9 & 10.)

      2.        The Secondary Market

      While the alleged conspiracy above might earn Primary

Dealer Defendants more EGBs or other lucrative business, it

would not directly lead to greater profits, because Primary

Dealer     Defendants    allegedly          paid    above-market      prices    to

acquire those greater inventories. Plaintiffs thus allege

that Defendants recouped the costs of overpaying government


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issuers      for   EGBs   by    charging       other      investors    inflated

prices for those EGBs in the Secondary Market. In short,

while Defendants incurred short term losses by overbidding

for EGBs in the Primary Market, this overbidding secured a

substantial share of EGBs that Defendants could sell for a

profit at the expense of investors in the Secondary Market.

      As noted above, the Secondary Market is defined by

infrequent, large transactions averaging €18 million per

transaction during the Class Period. These transactions are

made bilaterally over the counter, rather than through a

public exchange. As a result, information on EGB trades in

the Secondary Market is generally not publicly available,

though Defendants are allegedly able to acquire information

on   EGB     supply   and      demand       through     certain      interdealer

platforms and their relationships with EGB issuers. And as

with the Primary Market, Plaintiffs allege that Defendants

shared confidential information regarding their secondary

trading    through    online     chatrooms         in   order   to   coordinate

their pricing.

      According to Plaintiffs,               the   conspiracy across       both

Primary and Secondary Markets was possible because the same

employees that determined auction bids also set the prices

at   which    EGBs    would    be   sold      in    the    Secondary    Market,


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whether     by      Primary      Dealer          Defendants        themselves            or

affiliated        entities       in     the          same    corporate         family.

Plaintiffs        suggest        that      this         conspiracy       was        also

facilitated      by   the     structure         of    Defendants’    EGB       trading

business,    in     which     employees         of    multiple     entities         in    a

corporate family would frequently work together to sell the

EGBs acquired by the primary dealer. For example, employees

of    American-based        broker-dealer            affiliates    would       solicit

interest     from     investors       in    the       United    States,    and       the

primary     dealers      would      execute          internal    transactions            to

transfer the EGBs to an affiliated American trading desk

for further distribution to American investors.

       As   evidence     of    anticompetitive              coordination       in    the

Secondary      Market,      Plaintiffs          analyzed     the   difference            in

price between the “bids” at which Defendants would purchase

EGBs and the “asks” at which Defendants would sell EGBs

(the “bid-ask spread”). Plaintiffs allege that because the

prices at which a party buys and sells the same good should

be nearly the same in a competitive market, a “wider” bid-

ask   spread     suggests      Defendants            anticompetitively         charged

much more for EGBs than they themselves paid. While most

European markets do not provide information on secondary

trading     (allegedly        due     to        lobbying       efforts    by    trade


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associations including Defendants), Plaintiffs were able to

analyze quotes for Italian government bonds before, during,

and   after     the   Class    Period     for    Defendants        and    non-

defendants.      Plaintiffs’    results,     which       they    allege    are

statistically significant, reflect that Defendants’ bid-ask

spreads   were    meaningfully    wider    during    the        Class    Period

than they were before and after it. While Defendants’ bid-

ask spreads were collectively narrower than non-defendants’

spreads by close to thirty percent both before and after

the Class Period, they were collectively wider than non-

defendants’ spreads by over 15 percent during the Class

Period. (See id. at ¶¶ 180–90, Figure 11.)

      Plaintiffs add another chart showing that while non-

defendants’      bid-ask   spreads      narrowed    by    less     than    one

percent from 2012 to 2013, when the conspiracy allegedly

ended, some of the Defendants’ bid-ask spreads decreased by

between 28 to 66 percent. Because it would be economically

infeasible for one dealer to sell at higher prices and buy

at lower prices than its competitors in a truly competitive

market,       Plaintiffs      allege      that     these         defendants’

significantly wider bid-ask spreads suggest anticompetitive

conduct during the Class Period. (See id. at ¶¶ 191–96,

Figure 12.)


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     3.     The European Commission’s Statement of Objections

     Although this conspiracy allegedly ended before 2013,

Plaintiffs allege that they learned of it only after the

European    Commission    issued   a    Statement   of    Objections    on

January 31, 2019 (the “Statement of Objections”). In the

Statement of Objections, the European Commission published

its preliminary view that “eight banks participated in a

collusive scheme that aimed at distorting competition when

acquiring and trading [EGBs]. Traders employed by the banks

exchanged      commercially        sensitive        information        and

coordinated    on   trading   strategies.      These     contacts    would

have taken place mainly -- but not exclusively -- through

online chatrooms.” (Id. at ¶ 198.) The European Commission

did not specify which eight banks were under investigation,

but Plaintiffs identified Defendants based on various media

reports and Defendants’ own filings.

B.   PROCEDURAL BACKGROUND

     Ohio    Carpenters    filed   an    initial    complaint   in    this

putative class action on March 22, 2019. (See Dkt. No. 1.)

Following the consolidation of related actions and multiple

amendments to the initial complaint, Plaintiffs filed the

operative TAC on December 3, 2019. (See Dkt. No. 87.)




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      Consistent    with     the       Court’s    Individual         Practices,

Defendants notified Plaintiffs of perceived deficiencies in

the   TAC   by letter dated        February 26, 2020. (See                Letter

Motion.) Defendants raise four grounds for dismissing the

TAC: (1) failure to plead antitrust conspiracy; (2) failure

to plead antitrust standing; (3) failure to timely file

this action; and (4) failure to plead personal jurisdiction

over the Foreign Defendants.

      Plaintiffs responded to the Letter Motion on March 11,

2020, challenging all four asserted grounds for dismissal.

(See Opposition.)

                            II.    DISCUSSION

A.    GENERAL STANDARDS FOR MOTIONS TO DISMISS

      The Court addresses Defendants’ four proposed grounds

for   dismissal    in      the     following         order:    (1)     personal

jurisdiction; (2) timeliness; (3) antitrust standing; and

(4) antitrust conspiracy. Because the Letter Motion is made

pursuant    to   Rule   12(b)(6)        for    all    grounds      except   for

personal    jurisdiction,        the    Court    begins       by   noting   the

general     standards    for       that       rule,    which       will   apply

throughout the analysis in Sections II.C through II.E.

      Rule 12(b)(6) provides for dismissal of a complaint

for “failure to state a claim upon which relief can be


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granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to

dismiss,       a        complaint       must        contain       sufficient           factual

matter, accepted as true, to ‘state a claim to relief that

is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

U.S.    544,       570    (2007)).       This       standard         is    met      “when    the

plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable

for    the    misconduct         alleged.”          Id.    A    complaint           should    be

dismissed          if     the    plaintiff           has       not    offered          factual

allegations         sufficient          to     render          the        claims      facially

plausible. See id. However, a court should not dismiss a

complaint      for       failure       to    state     a     claim        if    the    factual

allegations sufficiently “raise a right to relief above the

speculative level.” Twombly, 550 U.S. at 555.

        The    requirement            that     a     court        accept        the    factual

allegations in the complaint as true does not extend to

legal     conclusions.            See       Iqbal,        556      U.S.        at     678.    In

adjudicating a Rule 12(b)(6) motion, a court must confine

its    consideration            “to    facts        stated      on    the      face    of    the

complaint,         in     documents          appended        to      the       complaint      or

incorporated in the complaint by reference, and to matters

of    which    judicial         notice       may     be    taken.”         Leonard      F.    v.


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Israel Disc. Bank of N.Y., 199 F.3d 99, 107 (2d Cir. 1999)

(internal quotation marks omitted).

B.     PERSONAL JURISDICTION

       In   the   Letter   Motion,      the    eight    Foreign    Defendants

claim that the TAC does not provide an adequate basis for

this    Court     to   assume    personal      jurisdiction       over   them.

(Letter Motion at 3.) The Court agrees that it does not

have    personal       jurisdiction     over     BAML    International     or

NatWest      Markets,      but    it        otherwise     concludes      that

Plaintiffs’ allegations suffice to allow the exercise of

personal jurisdiction over the other six defendants.

       1. General Legal Standards

       Rule 12(b)(2) provides for the dismissal of complaints

for lack of personal jurisdiction. At the motion to dismiss

stage, Plaintiffs need only make a prima facie showing of

personal     jurisdiction.       This       showing     requires     “legally

sufficient        allegations     of    jurisdiction,        including     an

averment of facts that, if credited[,] would suffice to

establish jurisdiction over the defendant.”                   Penguin Grp.

(USA) Inc. v. Am. Buddha, 609 F.3d 30, 34–35 (2d Cir. 2010)

(internal quotation marks omitted). To establish personal

jurisdiction, Plaintiffs must show proper service on the

defendants,       a statutory basis for personal jurisdiction,


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and that the exercise of jurisdiction comports with the

constitutional doctrine of due process. See Licci ex rel

Licci v. Lebanese Canadian Bank, SAL, 673 F.3d 50, 59–60

(2d   Cir.   2012).     Foreign      Defendants      do   not   contest   the

adequacy of service here.

        a. Statutory Basis for Jurisdiction

        Plaintiffs allege two potential statutory                  bases for

jurisdiction.       (See   Opposition      at    3   n.6.)   First,   Federal

Rule of Civil Procedure 4(k)(2) (“Rule 4(k)(2)”) provides

that service of a summons or waiver of service establishes

personal jurisdiction over a defendant if the claim arises

under     federal    law,      the   defendant       is   not   subject    to

jurisdiction in any state’s courts of general jurisdiction,

and exercising jurisdiction is consistent with the United

States Constitution and laws. Fed. R. Civ. P. 4(k)(2).

        Second,   New   York    C.P.L.R.        Section   302(a)   (“Section

302(a)”) provides for jurisdiction over a non-domiciliary

defendant if the defendant “in person or through an agent

. . . transacts any business within the state or contracts

anywhere to supply goods or services in the state” and the

plaintiff’s claim arises from those transactions. Section

302(a)(1). A claim arises from the defendant’s transactions

if there is “a relatedness between the transaction and the


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legal claim such that the latter is not completely unmoored

from the former, regardless of the ultimate merits of the

claim.” Licci ex rel Licci v. Lebanese Canadian Bank, SAL,

732 F.3d 161, 168–69 (2d Cir. 2013). Section 302(a) “does

not   require        that    every    element      of     the    cause     of    action

pleaded must be related to the New York contacts; rather,

where     at    least       one   element        arises       from   the    New    York

contacts, the relationship between the business transaction

and the claim asserted supports specific jurisdiction under

the statute.” Id. at 169.

        b. Constitutional Basis for Jurisdiction

        Personal jurisdiction comports with constitutional due

process    if    a    plaintiff       can    establish         either      general   or

specific jurisdiction. Plaintiffs allege only the latter.

Specific jurisdiction exists where                       the defendant’s suit-

related conduct creates a substantial connection with the

forum state. See Walden v. Fiore, 571 U.S. 277, 284 (2014).

There     are    two        primary    methods           of    demonstrating         the

requisite        “minimum         contacts”         in        this    regard:        (1)

“purposeful           availment,”           in     which         “the       defendant

purposefully         availed      itself     of     the       privilege     of    doing

business in the forum and could foresee being haled into

court there,” Licci, 732 F.3d at 170 (internal quotation


                                            17
marks omitted); and (2) “purposeful direction,” also known

as   the       “effects    test,”       which           establishes       personal

jurisdiction when “the conduct that forms the basis for the

controversy      occurs    entirely      out-of-forum,            and    the    only

relevant       jurisdictional     contacts          with      the       forum    are

therefore         in-forum       effects                harmful         to       the

plaintiff,” id. at 173.

        Generally,     a   defendant         that         directly       transacts

financial instruments in a forum has purposefully availed

itself of the forum, and may thus be subject to personal

jurisdiction for claims arising from those transactions.

See Charles Schwab Corp. v. Bank of Am. Corp., 883 F.3d 68,

82–83    (2d    Cir.   2018).   Even     a   defendant        that      indirectly

transacts      financial     instruments           in    a    forum      may    have

purposefully       availed      itself        of        the   forum       if     the

transactions were effected by the defendant’s agent. The

standard for agency in this                 context, which is the same

under Section 302(a), allows for jurisdiction where “the

alleged agent acted in New York for the benefit of, with

the knowledge and consent of, and under some control by,

the nonresident principle.” Id. at 85 (internal quotation

marks omitted).




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        If     the     minimum       contacts          required          for    specific

jurisdiction         exist     by   virtue        of   purposeful          availment    or

direction,       a     court        must     next       consider         “whether      the

assertion of personal jurisdiction would comport with fair

play     and    substantial          justice.”          Burger       King      Corp.   v.

Rudzewicz,       471    U.S.    462,       476    (1985)      (internal        quotation

marks    omitted).       A     court       must    consider         five    factors    in

connection       with    this       analysis:          (1)    the    burden      on    the

defendant; (2) the interests of the forum state; (3) the

plaintiff’s          interest        in      obtaining         relief;         (4)     the

interstate judicial system’s interest in obtaining the most

efficient resolution of controversies; and (5) the shared

interest of the several states in furthering fundamental

substantive social policies. Asahi Metal Indus. Co. v. Sup.

Ct. of Cal., Solano Cty., 480 U.S. 102, 113–14 (1987).

        c. Conspiracy Jurisdiction

        Finally,        antitrust          plaintiffs          may       alternatively

establish       “conspiracy         jurisdiction”            over    a   defendant      by

adequately alleging that (1) a conspiracy existed; (2) the

defendant participated in the conspiracy; and (3) a co-

conspirator’s overt acts in furtherance of the conspiracy

had sufficient contacts with a state to subject that co-




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conspirator to jurisdiction in that state. Charles Schwab,

883 F.3d at 87.

        2. Analysis

        Plaintiffs       allege     three    grounds    for        personal

jurisdiction:        (1)   each     defendant   purposefully       availed

itself of the forum by marketing, pricing, and trading EGBs

directly with United States investors; (2) each defendant

purposefully directed its EGB price-fixing conduct at the

forum; and (3) any defendant’s overt act in furtherance of

the price-fixing conspiracy in this forum would subject all

co-conspirators to personal jurisdiction under a theory of

conspiracy jurisdiction. (Opposition at 3.)

        The Court is persuaded that Plaintiffs have made a

prima     facie   case     for    personal   jurisdiction     as   to   all

Foreign     Defendants      except     for   BAML   International       and

NatWest Markets. Broadly speaking, Plaintiffs allege that

Foreign Defendants either directly transacted EGBs through

their New York trading hubs or indirectly transacted EGBs

through New York-based broker-dealer affiliates, who sold

the EGBs from Foreign Defendants’ inventories at prices set

by Foreign Defendants. Those defendants clearly transacted

business in New York within the meaning of Section 302(a)

and purposefully availed themselves of the forum under the


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rationale set forth in Charles Schwab. See 883 F.3d at 82–

83,    85.    Because       Foreign       Defendants        allegedly      fixed      the

prices       of     these        transactions          to    the      detriment         of

Plaintiffs, Plaintiffs’ claims clearly arise from the same

conduct that reflects purposeful availment of the forum.

Finally,          the      Court       is      persuaded        that       exercising

jurisdiction            comports       with     fair    play       and    substantial

justice,      as     the    interests         of   Plaintiffs       and    the       forum

appear to outweigh any burden to Defendants.

       While      the     general      observations         above    apply      to    most

Foreign Defendants, the Court nevertheless must assess each

defendant’s contacts separately. Doing so reveals that the

Court cannot properly exercise personal jurisdiction over

two     of     the        Foreign       Defendants.          First,       Plaintiffs’

allegations        against       BAML     International        are       minimal,     and

they do not clearly plead an agency relationship with other

entities that would be subject to personal jurisdiction.

Second,      Plaintiffs       do    not       appear   to    have     established        a

statutory         basis    for     jurisdiction         over    NatWest         Markets,

because they have not sufficiently alleged that it either

transacts business in New York or is otherwise not subject

to    the    jurisdiction         of    other      states’     courts      of   general

jurisdiction, as required by Rule 4(k)(2). The Court sets


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forth    its    conclusions        as     to    each       of    the     eight      Foreign

Defendants in further detail below.

          a. MLI

        The   TAC    contains      a    variety       of     detailed         allegations

about    MLI.    Plaintiffs        allege       that       MLI       traded     EGBs     with

United States investors both directly and through its New

York-based broker-dealer affiliate Merrill Lynch, Pierce,

Fenner & Smith Inc. (“Merrill Lynch”).                               (TAC ¶ 43.)          MLI

allegedly       determined       the     prices       for       EGBs    traded      in    the

United    States,      and       its     “European          Rates       Research”        team

drafted       promotional        materials        aimed          at     United       States

purchasers.         (Id.    at    ¶¶     42,     44–45.)          These       promotional

materials noted that some EGBs could be purchased only by

qualified institutional buyers as defined by United States

laws, and they directed potential customers to reach out to

designated       American        sales    employees             to     request      pricing

details and execute EGB transactions. (Id. at ¶ 45.)

        Overall, the Court is persuaded that Plaintiffs have

made a prima facie showing of personal jurisdiction over

MLI.    The    TAC’s       allegations         reflect       that       New    York-based

affiliate Merrill Lynch sold EGBs that were sourced by MLI,

with MLI’s knowledge, at prices determined by MLI. These

sales    would      benefit      MLI     both    by    virtue          of     the   profits


                                          22
accrued and by showing Eurozone issuers that the primary

dealer     could     make    a   market     for    the      EGBs    acquired    at

auction.      At    this    stage,     these      allegations        suffice    to

indicate    an     agency    relationship      between        MLI    and   Merrill

Lynch.     The      TAC     further     alleges        that        MLI     tailored

promotional        advertisements      to    investors         in    the    United

States and then directed those investors to transact with

affiliated employees in the United States, who were likely

based in the New York trading hub.

       These allegations are enough to demonstrate that MLI

transacted business in New York and purposefully availed

itself of the forum for that purpose, either by directly

buying and selling EGBs or by doing so through its New

York-based       agent.     Plaintiffs’     claim      directly      relates     to

those EGB transactions, which were allegedly the subject of

illegal    price     fixing.     The   Court      is   also    persuaded       that

exercising     personal jurisdiction here would comport with

fair   play    and    substantial      justice,        as   the     interests   of

Plaintiffs and the forum appear to outweigh any burden to

MLI, which appears to regularly do business in New York.

Accordingly, the Court denies MLI’s motion to dismiss the

TAC for lack of personal jurisdiction.




                                       23
          b. BAML International

       By contrast, the Court will dismiss the TAC as against

BAML International for lack of personal jurisdiction. The

TAC      contains         almost        no        allegations        about       BAML

International,      apart        from   one       general      statement      that   it

prices and executes EGB transactions with investors in the

forum. (Id. at ¶ 47.) While Plaintiffs might argue that

BAML International is an agent of either BANA or MLI, they

plead virtually no facts to support that relationship.

       The TAC does note            that         Merrill Lynch is a           broker-

dealer affiliate of BAML International, but that is again

the extent of the allegations. (See id. at Figure 1.) It is

certainly possible that Merrill Lynch employees acted on

behalf of BAML International in much the same way that they

allegedly did for MLI, but Plaintiffs have not actually

pleaded    as    much.     And    though         BAML   International,         Merrill

Lynch,    and    MLI     all     appear      to    be     members   of     the   same

corporate       family,    the     Court         cannot   so    readily       conflate

formally    separate       corporate         entities.         Barring    a   clearer

showing by Plaintiffs, the TAC does not adequately plead

that BAML purposefully availed itself of the forum.

       As the Court notes below in Section II.E.3.a., the TAC

also     fails     to      allege       a        conspiracy      involving        BAML


                                            24
International. Conspiracy jurisdiction is thus unavailing,

and     the     Court      lacks       personal     jurisdiction           over       BAML

International.

          c. Natixis

        Turning       to   Natixis,        the     Court       is     persuaded       that

Plaintiffs       have      made    a     prima    facie       showing    of     personal

jurisdiction.         Plaintiffs         allege    that       Natixis    has     both    a

fixed income trading hub in New York and a New York-based

broker-dealer affiliate. (Id. at Figures 1 & 2.) Natixis

allegedly       traded     EGBs     directly       with       U.S.    consumers,       and

over a three-month span during the Class Period, Natixis

allegedly made fifteen appointments to the New York-based

team    responsible         for     selling       EGBs    to     investors       in    the

United States. (Id. at ¶¶ 49, 52.) These New York-based

sales employees, organized under Natixis’s Fixed Income,

Commodities, and Treasury Americas team, allegedly marketed

EGBs to United States investors and arranged EGB trades at

prices determined by Natixis’s European traders. (Id. at ¶¶

52–53.)

        These     allegations,           taken     as     a     whole,     adequately

demonstrate       that     Natixis        transacted       EGB       business    in    New

York and purposefully availed itself of the privilege of

doing    so.     As     with      MLI,    the    Court     also       concludes       that


                                            25
assuming personal jurisdiction here would comport with fair

play and substantial justice. The Court thus concludes that

it may exercise personal jurisdiction over Natixis.

          d. NatWest Markets

     Plaintiffs     have    not    made      a    prima   facie   showing    of

personal jurisdiction over NatWest Markets, though. While

Plaintiffs certainly allege a number of details regarding

NatWest Markets’ EGB business in the United States, their

allegations    do   not     appear       sufficient       to   demonstrate    a

statutory basis for personal jurisdiction. First, there is

very little indication that Section 302(a) can serve as the

basis for jurisdiction over NatWest Markets. Unlike most of

the other defendants in this case, Plaintiffs allege that

NatWest Markets’ American affiliate NMSI is based in, and

conducts business out of, Stamford, Connecticut. (Id. at ¶¶

58–59,    Figures   1   &   2.)   None       of   Plaintiffs’     allegations

regarding NatWest Markets demonstrate with any specificity

that it transacts business in New York.

     Plaintiffs make a variety of allegations that NatWest

Markets    trades   EGBs    in    the    United     States     more   broadly,

which suggests Rule 4(k)(2) would provide a statutory basis

for jurisdiction. See Dennis v. JPMorgan Chase & Co., 343

F. Supp. 3d 122, 201 (S.D.N.Y. 2018) (indicating courts may


                                        26
look to nationwide contacts to assess personal jurisdiction

where claim arises under federal law and federal statute

authorizes nationwide service of process).                         However, Rule

4(k)(2) applies only where “the defendant is not subject to

jurisdiction        in        any      state’s           courts     of       general

jurisdiction.”         Fed.     R.    Civ.    P.    4(k)(2).       While     NatWest

Markets may not be subject to jurisdiction in any state’s

courts of general jurisdiction, the TAC lacks sufficient

clarity for the Court to draw that inference. Because the

Court     sees     no     clear       statutory          basis     for      personal

jurisdiction,      the    Court       concludes      that    the    TAC     must   be

dismissed with respect to NatWest Markets.5

          e. Nomura International

        The    Court      may        appropriately         exercise         personal

jurisdiction over Nomura International. Plaintiffs allege

that    both     Nomura   International            and     its    New    York-based

broker-dealer affiliate,              NSI,    are subsidiaries of Nomura

Holdings, which buys and sells EGBs through its Wholesale

Division. (TAC ¶ 71.) The Wholesale Division has employees

of     both    Nomura     International            and     NSI.    (Id.)      Nomura

International       allegedly         made    substantial          sales,    quoted


5
   The Court further notes that conspiracy jurisdiction would be
inappropriate here, because the TAC fails to state a claim for an
antitrust conspiracy involving NatWest Markets or its potential agent
NMSI. See infra Section II.E.3.c.
                                         27
fixed prices, and cultivated a domestic customer base for

EGBs both on its own behalf and that of NSI. (Id. at ¶ 68.)

The   TAC    names    several       New    York-based      NSI        employees    who

allegedly     “promoted       [EGBs]      from    [Nomura       International’s]

inventory to investors in this District and throughout the

United      States.        Nomura     International         []        traders      were

responsible     for        determining      the       prices     at    which     these

domestic [EGB] transactions occurred.” (Id. at ¶¶ 72–74.)

      As with MLI and Merrill Lynch, the Court is persuaded

that the TAC alleges an agency relationship between Nomura

International        and    its     New   York-based       affiliate        NSI:    New

York-based NSI employees (several of whom are specifically

identified)     sold       EGBs     sourced      by    primary        dealer    Nomura

International        from    a    shared       inventory       in     the   Wholesale

Division,     at     prices       determined      by    Nomura        International

employees. Nomura International clearly knew of, benefitted

from, and had some control over NSI’s sales of the EGBs

that it acquired at auction.                   The TAC also alleges that

Nomura International directly transacted EGBs in the forum.

Nomura International             thus plainly transacted business in

New   York     within       the     meaning       of    Section        302(a),     and

Plaintiffs’ claims regarding price-fixed EGBs substantially

arise from such transactions. Nomura International’s direct


                                          28
and indirect EGB transactions reflect purposeful availment

along the lines contemplated in Charles Schwab, and the

Court sees no reason why exercising jurisdiction here would

contravene fair play and substantial justice. Accordingly,

the Court concludes that it has personal jurisdiction over

Nomura International.

          f. UBS AG and UBS Europe

        The Court also has personal jurisdiction over UBS AG

and     UBS   Europe      in    light        of     the       TAC’s     substantial

allegations. According to the TAC, UBS Europe is a direct,

wholly-owned subsidiary of UBS AG, is the successor to two

prior UBS entities that served as primary dealers of EGBs,

and determined the prices at which EGBs would be sold in

the   United       States.     (Id.    at    ¶¶     85–86,       92.)    Like   MLI,

Natixis, and Nomura International, UBS Europe treats New

York as a fixed income trading hub and has a New York-based

broker-dealer affiliate, UBS Securities. (Id. at Figures 1

& 2.)

        UBS   AG    similarly     is    alleged          to    have     significant

overlap with both UBS Europe and UBS Securities, and it

allegedly      directly      transacted           EGBs    with    United     States

investors including all three of the named plaintiffs. (Id.

at ¶ 79.) UBS AG has a New York branch, and its senior EGB


                                        29
salesperson was stationed in the New York branch at the

start of the Class Period. (Id. at ¶ 84.) UBS AG allegedly

arranged    the    EGB    trades     sourced        by     UBS    Europe         and    its

predecessors       and     also     oversaw         the    operations            of    UBS

Securities. (Id. at ¶ 84.) According to Plaintiffs, UBS

Securities’      operations       were    part      of    UBS     AG’s       Investment

Banking line of business; UBS AG had full knowledge of and

oversaw all       of   UBS Securities’ EGB trading,                        and    it was

responsible for UBS Securities’ staffing decisions. (Id. at

¶   89.)   UBS    AG     included    UBS        Securities’           income     in    its

financials, and it allegedly held UBS Securities out as its

agent by noting that “[s]ecurities activities in the US are

conducted through UBS Securities LLC, a registered broker-

dealer.” (Id. at ¶¶ 90–91.)

      For much the same reasons discussed above with respect

to MLI, Natixis, and Nomura International, the Court is

persuaded     that     these   allegations           suffice          to   demonstrate

personal    jurisdiction       over       UBS    Europe         and    UBS      AG.    Both

entities      clearly      knew      of       and     benefitted             from       UBS

Securities’ sales of EGBs, and they exercised control over

those sales in various ways. UBS AG is also alleged to have

directly transacted EGBs with American investors, including

all   three      Plaintiffs.       UBS     Europe         and    UBS       AG    plainly


                                         30
transacted business in New York and purposefully availed

themselves       of    the    privilege,         and      the    Court      is   again

persuaded that exercising personal jurisdiction would not

run afoul of fair play or substantial justice.

          g. UniCredit Bank

       The     Court   likewise        has     personal         jurisdiction      over

UniCredit Bank. According to the TAC, “UniCredit Bank sold

[EGBs]    directly       to    investors       in    the    United       States    and

distributed [EGBs] into the United States to its New York

branch and its wholly owned, domestic subsidiary, [UCM].”

(Id. at ¶ 94.) UniCredit Bank’s New York branch allegedly

undertook activities solely for the Corporate & Investment

Banking      Division,       which   is   responsible           for   EGB    trading.

(Id. at ¶¶ 97–98.) The New York branch allegedly conducted

EGB transactions from the inventory acquired in the Primary

Market, and UniCredit Bank determined the prices for these

transactions. (Id.            at ¶¶ 101–02.)           Furthermore,         UniCredit

Bank     and    UCM    share     the      same      New    York       office,     with

significant overlap between senior employees, and UniCredit

Bank’s       legal     and      compliance          personnel         oversee      the

activities of UCM employees. (Id. at ¶ 104.)

       These allegations collectively establish a prima facie

case for personal jurisdiction over UniCredit Bank, whether


                                          31
through its direct activities in New York or through an

agency relationship with its New York-based affiliate UCM.

Either     basis     suffices      to    demonstrate            the    purposeful

availment necessary for personal jurisdiction to comport

with    due     process,   and    the    Court       again      concludes      that

exercising      personal jurisdiction would comport with fair

play and substantial justice.

C.      TIMELINESS AND FRAUDULENT CONCEALMENT

        Defendants next argue that Plaintiffs’ suit is barred

by the four-year statute of limitations applicable to the

Sherman Act. See 15 U.S.C. § 15b. Because Plaintiffs first

filed    this    action    in    2019    but      allege     that     Defendants’

conspiracy ended no later than December 31, 2012, their

action is apparently untimely. However, Plaintiffs argue

that the statute of limitations was tolled by Defendants’

fraudulent concealment. The Court concludes that Plaintiffs

have adequately alleged fraudulent concealment.

        Fraudulent concealment has three elements, which the

Second     Circuit     has      framed       in    two     ways.       Under    one

formulation, the statute of limitations is tolled if an

antitrust     plaintiff      establishes          “(1)   that    the    defendant

concealed from him the existence of his cause of action,

(2) that he remained in ignorance of that cause of action


                                        32
until some point within four years of the commencement of

his action, and (3) that his continuing ignorance was not

attributable to lack of diligence on his part.” State of

N.Y. v. Hendrickson Bros. Inc., 840 F. 2d 1065, 1083 (2d

Cir.    1988).     Under   the   other      formulation,     fraudulent

concealment applies where a plaintiff shows (1) wrongful

concealment by the defendant; (2) which prevented discovery

of the nature of the claim within the limitations period;

and (3) due diligence in pursuing the discovery of the

claim. In re Merrill Lynch Ltd. P’ships Litig., 154 F. 3d

56, 60 (2d Cir. 1998). A claim of fraudulent concealment

must be pled with particularity, in accordance with the

heightened      pleading   standards   of   Federal   Rule    of     Civil

Procedure 9(b) (“Rule 9(b)”). Hinds Cty., Miss. v. Wachovia

Bank N.A., 620 F. Supp. 2d 499, 520 (S.D.N.Y. 2009) (“Hinds

I”).

       In the Second Circuit, plaintiffs may prove the first

element    of     concealment    by    showing    either     “that     the

defendants took affirmative steps to prevent plaintiffs'

discovery of the conspiracy, or that the conspiracy itself

was    inherently    self-concealing.” In        re   Nine    W.     Shoes

Antitrust Litig., 80 F. Supp. 2d 181, 192 (S.D.N.Y. 2000).

“[P]rice-fixing       conspiracies       are      inherently         self-


                                  33
concealing.” In re Issuer Plaintiff Initial Pub. Offering

Antitrust Litig., No. 00 Civ. 7804, 2004 WL 487222, at *4

(S.D.N.Y.     Mar.    12,   2004) (citing Hendrickson              Bros.,   840

F.2d at 1084).

        Under either formulation, Plaintiffs adequately plead

the   first   two    elements      of    fraudulent       concealment.      They

satisfy     the   first     element     by     pleading     that     Defendants

engaged in an inherently self-concealing conspiracy to fix

EGB prices, and they satisfy the second element by pleading

that they remained ignorant of the conspiracy’s existence

until the European Commission’s Statement of Objections put

them on notice in early 2019. (See TAC ¶¶ 255–58.)

        The third element presents a closer call. Plaintiffs

do    not   appear    to    have      explicitly        alleged      that   they

conducted due diligence, though they do allege that their

diligence would not have uncovered the fraud. (See id. at ¶

259.)    Defendants    argue    that         Plaintiffs’    allegations     are

consequently      inadequate,       noting       this      Court’s     previous

dismissal of a complaint as untimely in Hinds I, 620 F.

Supp. 2d at 521. (See Letter Motion at 2–3.) There, this

Court held that it could not “find that a brief reference

to ‘reasonable diligence,’ coupled with general allegations

of secrecy and deception directed towards the first prong


                                        34
of      fraudulent           concealment,          satisfie[d]              the      Named

Plaintiffs’ burden under Rule 9(b) to plead the third prong

of fraudulent concealment with particularity.” Hinds I, 620

F. Supp. 2d at 522. The Court held that to rule otherwise

under    the     circumstances         of    that       case    would        essentially

render     the       first    and     third       prongs       of     the     fraudulent

concealment inquiry identical. See id. at 521–22.

        While    a     conspiracy’s          self-concealing            nature       alone

cannot excuse a plaintiff’s failure to plead any exercise

of due diligence at all, the Court nevertheless concludes

that    Plaintiffs         have     pled     enough      to    satisfy        the    third

element of diligence here. Though this Court dismissed the

complaint in Hinds I, it later provided guidance on the

level     of     diligence          that     might       satisfy       the        pleading

requirements         of    Rule      9(b).       See    Hinds        Cty.,    Miss.      v.

Wachovia Bank N.A., 700 F. Supp. 2d 378, 400 (S.D.N.Y.

2010) (“Hinds II”). In Hinds II, plaintiffs sufficiently

alleged due diligence by noting that the defendants with

whom     they    transacted          consistently            certified        that       the

defendants’       bids       were    “determined         without       regard       to   an

agreement       with      another    issuer,”          and    that    the     plaintiffs

“allegedly relied on [the certifications] and thus did not

undertake further inquiry.” Id. Their pleading of reliance


                                            35
on   alleged      misrepresentations                 related      to    the     conduct      at

issue     sufficed       to     make       resolution             of    the     fact-laden

fraudulent concealment inquiry inappropriate at the motion

to dismiss stage.

        Certainly,       plaintiffs            cannot        simply       rely       on     the

inherently      self-concealing                nature        of    a     conspiracy          to

satisfy     the     first       and        third        elements         of     fraudulent

concealment.       But    here,        Plaintiffs         do       not        rely   on    the

conspiracy      alone.         Like        the       plaintiffs          in     Hinds       II,

Plaintiffs here allege reliance on Defendants’ affirmative

representations          in      their            codes       of        conduct,          which

consistently disavow that Defendants engage in any unfair

competitive practices with respect to their EGB trading.

For example, the codes of conduct note that traders should

“exercise      extreme        caution       to       avoid     conduct          that      might

violate    antitrust          laws    or    other       rules      prohibiting            anti-

competitive       activities.          .   .     .    Employees         must     avoid     any

discussion with competitors of proprietary or confidential

information, business plans or topics such as pricing or

sales policies -- the discussion of which could be viewed

as   an    attempt       to     make       joint       rather          than     independent

business       decisions”;            that           employees          are      bound       by

prohibitions on transactions that “secure, by a person, or


                                             36
persons    acting     in    collaboration,           the    price      of   one    or

several financial instruments at an abnormal or artificial

level”; and that employees “act in the interest of fair and

effective competition and respect all the laws, rules and

regulations that are designed to create a level playing

field for all -- including antitrust and competition laws.”

(TAC ¶ 260.)

      Moreover, a plaintiff must allege only that degree of

diligence     which    would     be     reasonable          in   light      of    the

allegedly     concealed      fraud.         As   the    Second      Circuit        has

observed,     “[f]raudulent         concealment         does     not     lessen     a

plaintiff’s duty of diligence; it merely measures what a

reasonably    diligent       plaintiff       would     or   could      have      known

regarding the claim.” Stone v. Williams, 970 F.2d 1043,

1048–49 (2d Cir. 1992). Accordingly, if a plaintiff has

sufficient access to information that would likely reveal a

conspiracy,     that       plaintiff        cannot     simply     rest      on     the

allegedly self-concealing nature of the conspiracy without

pleading any diligence at all. See Rosenshein v. Meshel,

688   F.   App’x    60,     64–65     (2d    Cir.      2017).    Conversely,        a

plaintiff’s failure to exhaustively turn over every stone

that might conceal illicit conduct would not foreclose a

finding of fraudulent concealment if the relevant facts and


                                       37
circumstances       indicate        that       such     efforts         would     be

impractical or fruitless.

      While Plaintiffs’ allegations of due diligence here

are   certainly     not     extensive,        they    are     adequate     at    the

pleading stage. Defendants argue that Plaintiffs were on

inquiry notice of the alleged conspiracy based only on the

availability        of      general       statistical          evidence          that

Plaintiffs cite, such as the auction cycles in the Primary

Market.    (See    Letter       Motion   at    2–3.)    However,        Defendants

themselves    claim       that   these     statistical        trends     could     be

innocent rather than nefarious (see id. at 1–2), and the

general statistics must be considered in light of the TAC’s

allegations as a whole. Plaintiffs allege that Defendants

coordinated       their    alleged       conspiracy      on     private       online

chatrooms,     that       the    Secondary      Market        where     Plaintiffs

traded is highly opaque due to its bilateral, non-exchange

nature, and that Plaintiffs lacked public information on

specific defendants’ trading strategies. (TAC ¶ 259.)

      Faced    with       substantially        the     same    arguments         from

defendants in a similar case regarding alleged price fixing

of    government-sponsored          bonds,      another        court     in      this

District    stated       that    “requiring     potential           plaintiffs    to

conduct    exhaustive       statistical        analysis        of     millions    of


                                         38
transactions, just on the off chance that it would reveal

some suspicious behavior, would be absurd.” In re GSE Bonds

Antitrust Litigation, 396 F. Supp. 3d 354, 367–68 (S.D.N.Y.

2019).     The       Court     finds      this       reasoning    persuasive,     as

Plaintiffs would have had little basis to believe thorough

statistical          analysis      would        be    worthwhile    without      the

context and corroboration later provided by the Statement

of Objections. Bearing in mind that Plaintiffs have also

pled the type of reliance deemed adequate in Hinds II, the

Court     is     persuaded         that      Plaintiffs      have    sufficiently

alleged fraudulent concealment at this time.

D.      ANTITRUST STANDING

        Defendants          next     challenge        that    the   three     named

Plaintiffs       have        antitrust       standing.       To   have   antitrust

standing, a private antitrust plaintiff must demonstrate

that    (1)    it     has    suffered      “a     special    kind   of   antitrust

injury,”       and    (2)    it    is   an    “efficient      enforcer”     of   the

antitrust laws. Eastman Kodak Co. v. Henry Bath LLC, 936

F.3d    86,     94    (2d     Cir.      2019).       In   determining    antitrust

standing, a court assumes the existence of an antitrust

violation. See Harry v. Total Gas & Power N. A., Inc., 889

F.3d 104, 115 (2d Cir. 2018).




                                             39
       All three Plaintiffs allege the requisite antitrust

injury, and they are efficient enforcers as to defendants

with whom they traded either directly or indirectly through

broker-dealer affiliate agents. However, the Court is not

presently     persuaded        that       Plaintiffs        would      be     efficient

enforcers    as    to    the       defendants        with   whom       they    did    not

transact.     Because         Plaintiffs        do    not    allege          that    they

transacted    EGBs      with       BAML   International          (over       which    the

Court also lacks personal jurisdiction), UniCredit Bank, or

UCM, the Court will dismiss the TAC as against those three

defendants for lack of antitrust standing.

       1. Antitrust Injury

       There are three steps to determine whether a plaintiff

has    suffered    a    “special      kind      of    antitrust        injury”:       (1)

“identify the practice complained of and the reasons such a

practice is or might be anticompetitive”; (2) “identify the

actual injury the plaintiff alleges by look[ing] to the

ways    in   which      the    plaintiff        claims      it    is    in     a    worse

position as a consequence of defendant’s conduct”; and (3)

“compare     the       anticompetitive           effect      of        the     specific

practice     at    issue      to    the    actual       injury      the       plaintiff

alleges.” Id. (internal quotation marks omitted).




                                           40
        All   three    steps         are    readily    satisfied     here.   First,

Plaintiffs       allege     a    horizontal           price-fixing      conspiracy,

which has long been held per se illegal. See Gelboim v.

Bank of Am. Corp., 823 F.3d 759, 773–74 (2d Cir. 2016).

Second, Plaintiffs have adequately pleaded how Defendants’

alleged misconduct put them in a worse position: all three

plaintiffs directly traded EGBs with named Defendants at

prices that had been artificially altered as a result of

the price-fixing conspiracy. The injury that they allege

flows     from    classic            anticompetitive          conduct    that   the

antitrust laws aim to prevent, satisfying the third element

as   well.     See    id.       at    772     (“Generally,       when   consumers,

because of a conspiracy, must pay prices that no longer

reflect ordinary market conditions, they suffer injury of

the type the antitrust laws were intended to prevent and

that     flows       from   that           which      makes    defendants’      acts

unlawful.” (internal quotation marks omitted)). In short,

Plaintiffs have “sustained their burden of showing injury

by     alleging      that   they           paid    artificially    fixed     higher

prices.” Id. at 777.

        Defendants nevertheless challenge that Plaintiffs have

sufficiently      alleged        antitrust         injury     because   Plaintiffs

did not plead any specific transactions that were affected


                                             41
by Defendants’ anticompetitive conduct. They rely primarily

on decisions from In re SSA Bonds Antitrust Litigation                     for

this purported requirement. See No. 16 Civ. 3711, 2018 WL

4118979, at *6 (S.D.N.Y. Oct. 28, 2018); 420 F. Supp. 3d

219, 242 (S.D.N.Y. 2019). Respectfully, the Court is not

persuaded       that   Plaintiffs      must    plead       facts    regarding

specific transactions to allege antitrust standing in this

case. The SSA Bonds court derived its requirement in large

part from Harry v. Total Gas & Power N.A., Inc., 244 F.

Supp. 3d 402, 415–16 (S.D.N.Y. 2017). However, the Harry

Court     did    not   state    that      specific     transactions       must

necessarily be pled in every antitrust case. It required

the pleading of specific transactions under the particular

circumstances presented in that case because the plaintiffs

did not purchase financial instruments with prices tied to

the     regional   hubs     where    the    anticompetitive         practices

allegedly       occurred,      but     instead       alleged       that    the

anticompetitive practices at those hubs indirectly affected

the     competitive    conditions      of     the    hub    the    plaintiffs

actually frequented. See id. at 413–14. When the plaintiffs

in that case cited other cases for the proposition that

they need not plead specific transactions, the Harry court

distinguished the cases by noting that “the allegations of


                                     42
damages were based on direct manipulation of the price of

the instruments that the plaintiffs transacted in.” Id. at

415.

        All   of     the    Plaintiffs      allege      that    they       traded    the

bonds of specified Eurozone members during the Class Period

with     specific          named     Defendants,      and      that     those       same

Defendants directly manipulated the prices of the EGBs that

were traded. (See TAC ¶¶ 32–34.) This case consequently

falls    outside       of    the     context     in   which     the    Harry      court

required       transaction-specific              allegations.         By    contrast,

Plaintiffs here have alleged antitrust injury because they

allege       “that    the    injury       they   suffered      was    in    the     very

market that the defendants restrained.” Eastman Kodak, 936

F.3d at 95; see also GSE Bonds, 396 F. Supp. 3d at 366–67

(rejecting challenge to antitrust standing based on failure

to     allege        specific       transactions        affected        where       “the

complaint alleges that plaintiffs participated in GSE Bond

transactions during the class period with at least several

of the defendants”).

        Because Plaintiffs allege they were directly injured

by     the    quintessentially            anticompetitive         act       of    price

fixing, pleading the details of particular purchases will

not    impact      whether         they   have   pled    a     “special      kind     of


                                           43
antitrust injury.” See Hendrickson Bros., 840 F.2d at 1079

(“In general, the person who has purchased directly from

those who have fixed prices at an artificially high level

in    violation   of    the          antitrust     laws    is    deemed     to   have

suffered the antitrust injury within the meaning of § 4 of

the    Clayton    Act       .    .    .   .”);     see    also    Allianz     Global

Investors GmbH v. Bank of Am. Corp., No. 18 Civ. 10364,

2020 WL 2765693, at *3 (S.D.N.Y. May 28, 2020) (“Defendants

are incorrect that an antitrust injury requires pleading

the ‘actual transactions’ that harmed Plaintiffs. . . .

[T]he Complaint plausibly alleges that Plaintiffs traded to

their detriment in currencies the prices of which were tied

to artificially manipulated . . . bid/ask spreads.”).

       2. The Efficient Enforcer Factors

       Plaintiffs may be efficient enforcers of the antitrust

laws as to the defendants with whom they transacted. The

four efficient enforcer factors are: (1) the “directness or

indirectness      of    the          asserted      injury,”      which      requires

evaluation of the “chain of causation” linking plaintiffs’

asserted injury and the Banks’ alleged price-fixing; (2)

the    “existence      of       more      direct   victims       of   the   alleged

conspiracy”; (3) the extent to which plaintiffs’ damages

claim is “highly speculative”; and (4) the importance of


                                            44
avoiding “either the risk of duplicate recoveries on the

one hand, or the danger of complex apportionment of damages

on the other.” Gelboim, 823 F.3d at 778. While the first

factor,   requiring      proximate      causation,       “must        be    met    in

every case,” the last two factors need not carry as much

weight;     the    “potential    difficulty        in     ascertaining            and

apportioning damages is not . . . an independent basis for

denying   standing     where    it   is      adequately       alleged       that    a

defendant’s conduct has proximately injured an interest of

the plaintiff’s that the statute protects.” In re Interest

Rate   Swaps      Antitrust   Litig.,     261    F.    Supp.     3d    430,       491

(S.D.N.Y.      2017)   (internal     quotation        marks    and     citations

omitted).

       Plaintiffs      allege   a     direct       injury        as        to   most

defendants because they purchased instruments whose prices

were    artificially      altered       by      either     the        very      same

defendants or their agents. Ohio Carpenters claims to have

purchased EGBs from MLI, BANA, Natixis, NatWest Markets,

NMSI, and all three UBS defendants; BRS claims to have

directly transacted with MLI and UBS AG; and Local 103

directly transacted with MLI, Nomura International, NatWest

Markets, and UBS AG. (TAC ¶¶ 32–34.) As direct consumers of

the artificially priced instruments, they are also clearly


                                     45
the    direct       victims        of    the    foregoing        defendants’         assumed

conspiracy           in      the        Secondary           Market.      Under        these

circumstances, Plaintiffs’ claimed damages do not appear to

be necessarily speculative or involve any more complexity

than     similar          antitrust        cases.          Accordingly,        the    Court

concludes that Plaintiffs are efficient enforcers as to the

Defendants with whom they directly transacted.

        However,       the    Court       is    not    presently       persuaded       that

Plaintiffs          would     be        efficient         enforcers      as     to    three

defendants          with     whom       they    did       not   allegedly       transact,

either        directly         or        indirectly:            BAML     International,

UniCredit           Bank,     and       UCM.        Even     assuming         that    these

defendants participated in the alleged conspiracy, as the

Court        must    in      the    antitrust          standing        context,       their

misconduct          appears    indirect;            the     higher     prices    paid    by

Plaintiffs were ultimately charged by other defendants, who

directly received the profits of the alleged misconduct.

And    if     BAML    International,            UniCredit        Bank,    and    UCM    did

engage in misconduct, the parties with whom they or their

agents       directly       transacted         would       be   more    direct       victims

than the named Plaintiffs. In light of the indirect nature

of     the     injuries       alleged          here,       allowing      Plaintiffs      to

proceed as efficient enforcers against BAML International,


                                               46
UniCredit Bank, and UCM might risk speculative assessments

of injury or complex apportionment of damages.

        Indeed, most decisions in this District have tended to

conclude       that        plaintiffs    are   not    efficient      enforcers

against defendants with whom they did not transact. See,

e.g., Sonterra Capital Master Fund Ltd. v. Credit Suisse

Group AG, 277 F. Supp. 3d 521, 558–59 (S.D.N.Y. 2017) (“the

Direct Transaction Plaintiffs claim to have transacted only

with     the    Credit        Suisse    Defendants    and     UBS,   and   the

Complaint has alleged a plausible conspiracy only against

RBS. Accordingly, Count Two fails to state a claim because

plaintiffs have not alleged an antitrust violation by any

defendant for which they have antitrust standing to sue.”);

cf. FrontPoint Asian Event Driven Fund, L.P. v. Citibank,

N.A., No. 16 Civ. 5263, 2018 WL 4830087, at *5 (S.D.N.Y.

Oct. 4, 2018) (allowing plaintiff’s claims to proceed only

against defendants that allegedly manipulated the benchmark

rates     incorporated         into     plaintiff’s    swap    transactions,

rather than defendants that allegedly manipulated rates not

incorporated into the transactions). This Court agrees with

the reasoning of those decisions and concludes that the TAC

should     thus       be     dismissed    against     BAML    International,

UniCredit Bank, and UCM for lack of antitrust standing.


                                         47
E.      ANTITRUST CONSPIRACY

        Defendants    finally     challenge            that   Plaintiffs   have

stated a claim of antitrust conspiracy under the Sherman

Act. For the reasons set forth below, the Court agrees that

the TAC must be dismissed as to all Defendants except for

Natixis, Nomura International, and NSI.6

        1. Legal Standard

        Section   1   of   the    Sherman         Act     prohibits     “[e]very

contract, combination in the form of trust or otherwise, or

conspiracy, in restraint of trade or commerce among the

several States, or with foreign nations.” 15 U.S.C. § 1. To

state    a   claim    under   Section         1   of    the   Sherman    Act,   a

plaintiff’s       complaint      must        contain     sufficient     factual

matter that, if taken as true, would support an inference



6
  As a threshold matter, Defendants argue that Plaintiffs’ claims with
respect to the Primary Market are barred by the Foreign Trade Antitrust
Improvements Act (“FTAIA”), 15 U.S.C. Section 6a. (See Letter Motion at
2 n.6.) The Court is not persuaded, as it understands Plaintiffs to
allege only one Sherman Act claim, in which both foreign conduct and
domestic conduct caused Plaintiffs’ domestic injuries. Indeed, the case
cited by Defendants strongly suggests that the FTAIA does not bar
Plaintiffs’ suit more generally. The Supreme Court described its case
as one concerning “(1) significant foreign anticompetitive conduct with
(2) an adverse domestic effect” -- specifically, “vitamin sellers
around the world that agreed to fix prices, leading to higher vitamin
prices in the United States.” F. Hoffman-La Roche Ltd. v. Empagran
S.A., 542 U.S. 155, 159 (2004). The Court “conclude[d] that, in this
scenario, a purchaser in the United States could bring a Sherman Act
claim under the FTAIA based on domestic injury . . . .” Id. As alleged
by Plaintiffs, this case involves EGB sellers in Europe that agreed to
fix prices, leading to higher EGB prices in the United States.
Consistent with F. Hoffman-La Roche, United States purchasers of EGBs
such as Plaintiffs can bring their Sherman Act claim under the FTAIA
based on their domestic injuries.
                                        48
that   a     conspiracy       actually         existed.       See     In   re      Mexican

Government Bonds Antitrust Litig., 412 F. Supp. 3d 380,

387–88 (S.D.N.Y. 2019). To do so, a plaintiff may assert

either     (1)    “direct     evidence         that     the     defendants         entered

into an agreement in violation of the antitrust laws”; or

(2)    circumstantial           evidence         of    interdependent            parallel

conduct,       supported        by       “plus        factors”        indicative          of

conspiracy, such as “a common motive to conspire, evidence

that shows that the parallel acts were against the apparent

individual           economic        self-interest              of     the         alleged

conspirators, and evidence of a high level of interfirm

communications.”          Mayor      &     City       Council    of    Baltimore          v.

Citigroup, Inc., 709 F.3d 129, 136 (2d Cir. 2013).

       “To    survive     dismissal,           the    plaintiff       need       not    show

that    its      allegations        suggesting         an     agreement       are       more

likely than not true or that they rule out the possibility

of    independent       action,       as    would       be    required        at       later

litigation       stages      such    as    a     defense      motion       for    summary

judgment, or a trial.” Gelboim, 823 F.3d at 781 (internal

quotation marks omitted). Indeed, Rule 12(b)(6) “does not

impose a probability requirement at the pleading stage; it

simply       calls     for    enough       fact        to    raise     a     reasonable

expectation that discovery will reveal evidence of illegal


                                            49
agreement.”    Twombly,           550    U.S.      at     556.    However,           “[p]ost-

Twombly authorities              overwhelmingly           hold    that         a    complaint

that     provides      no     basis         to     infer       the    culpability            of

the specific defendants              named        in     the   complaint            fails    to

state a claim.” Mexican Government Bonds, 412 F. Supp. 3d

at 388 (emphasis in original).

       2. General Allegations of Conspiracy

       As Defendants note, many of Plaintiffs’ allegations of

conspiracy are not specific to particular defendants, but

instead    more     generally           reflect          conspiratorial             behavior

across the Primary and Secondary Markets during the Class

Period.    (Letter      Motion          at       1.)    Plaintiffs         counter        that

courts    routinely         accept      analyses         based       on    averages         and

market-wide    data         at    the    pleading          stage,     and          that   they

allege    misconduct         by    specific            defendants         in   any    event.

(Opposition at 1.)

       Because the generality or specificity of Plaintiffs’

allegations is a major point of contention, the Court first

analyzes Plaintiffs’ market-wide or collective allegations

and then turns to the evidence against specific defendants.

As the Court explains further below, allegations based on

market-wide    or      collective            analyses      need      not       be    entirely

disregarded,      as    long       as   a     plaintiff        can    adduce         further


                                             50
facts to tie specific defendants to the conspiracy more

broadly     alleged.      The     Court       ultimately        concludes           that

Plaintiffs       have     alleged        enough       facts      to       suggest     a

conspiracy to fix EGB prices, but their allegations are

inadequate       to     tie     any      specific          defendants       to     that

conspiracy beside Natixis, Nomura International, and NSI.

      Plaintiffs        undisputedly          do     not    allege      any      direct

evidence of conspiracy. While they cite the Statement of

Objections for the proposition that Defendants explicitly

conspired through the use of online chatrooms, they do not

set forth any direct evidence of the alleged agreement.

Instead, Plaintiffs must rely on circumstantial evidence.

      The    starting         point    for    Plaintiffs’        claims       is    the

European     Commission’s             Statement       of     Objections,           which

alleged     that      eight    banks     “participated          in    a    collusive

scheme that aimed at distorting competition when acquiring

and trading [EGBs]” during the Class Period. (TAC ¶ 198.)

It   is   well     settled      that     “government         investigations          may

bolster [Sherman Act] allegations, [though] they may not

constitute       the     entirety        of        nonconclusory          allegations

against [] defendants.” Hinds Cty., Miss. v. Wachovia Bank

N.A., 708 F. Supp. 2d 348, 361 (S.D.N.Y. 2010). Plaintiffs




                                         51
thus supplement the Statement of Objections with statistics

suggesting suspicious parallel conduct.

        As    to        the   Primary    Market,         Plaintiffs      proffer     the

results           of     statistical     analyses          which     are        allegedly

statistically significant; these results reflect that the

market prices for French and Italian ten-year bonds in the

When-Issued             Market   moved     in     consistent       and     predictable

patterns before and after the relevant auctions, and that

the     auction            prices    paid         by     primary      dealers       were

consistently higher than the contemporaneous market prices

reflected          in     the    When-Issued           Market.    (TAC     ¶¶     161–73,

Figures 7 & 8.) Plaintiffs further show graphs indicating

that when the activity for individual French and Italian

auctions is aggregated, it reveals a predictable pattern of

inversions in the yield of French and Italian bonds around

the time of the auctions. This distinctive “auction cycle”

would allegedly not happen in a competitive market. (Id. at

¶¶ 174–79, Figures 9 & 10.) As to the Secondary Market,

Plaintiffs             include   a   chart        indicating      that     Defendants’

collective bid-ask spreads were significantly higher than

those        of        non-defendants      during        the     Class     Period    and

significantly lower than those of non-defendants outside of

the   Class            Period,   raising     an     inference      that     they    were


                                             52
deviating in parallel from the true market price for EGBs

in the Secondary Market during the Class Period. (See id.

at ¶¶ 180–90, Figure 11.)

       Plaintiffs      then     allege      multiple       plus     factors    to

support their allegations of parallel conduct in the EGB

Markets.    First,     they     note   all     of    the   Defendants    had    a

common motive to conspire: overbidding in Primary Market

auctions allowed traders to secure large volumes of EGBs

that they could then sell at inflated prices in the opaque,

over-the-counter Secondary Market, both directly profiting

Defendants       and     also    increasing          their     likelihood      of

receiving lucrative business in the future. (Id. at ¶¶ 221–

23.)

       Second, Plaintiffs allege that Defendants’ collective

actions would not be in their economic self-interest if

undertaken individually. Entering bids that are above the

market price at auction would mean that dealers pay more

for the bonds than consumers would, and the dealers would

consequently have to sell the bonds at a loss in a truly

competitive      market.      (Id.     at    ¶¶     152–53.)      Similarly,    a

defendant     that     unilaterally         widens     its     bid-ask   spread

would,     all    else    equal,       stand      to   lose       customers    to

competitors that buy and sell bonds at prices that are much


                                       53
closer to their fair market value. (Id. at ¶¶ 138, 154,

220.)

        Third, Plaintiffs allege high interfirm communications

by virtue of Defendants’ collective membership in the lead

trade    organizations      for    primary    dealers    of    EGBs,    which

regularly met to discuss industry developments. (Id. at ¶¶

231–37.)

        Finally, Plaintiffs allege that the structure of the

EGB market is conducive to collusion. Because there is no

public    exchange    for    EGBs      and   consumers    cannot      readily

compare dealers’ prices or strategies, the market is opaque

rather than transparent. Because EGB transactions are large

and     infrequent,    averaging       €18   million     per   transaction

during the Class Period, only a limited number of dealers

could     meaningfully      compete     as   market-makers      for     EGBs.

Similarly,     the    infrequency       of   transactions      would     also

enable     a   conspirator        to   monitor   its     co-conspirators’

activity in the Secondary Market more easily, given that

primary dealers have more access to information on market-

wide trading than the average consumer. (Id. at ¶¶ 206–19.)

        Defendants raise a number of issues with Plaintiffs’

allegations in this regard. For example, they note that the

scholarship cited by Plaintiffs shows that auction cycles


                                       54
are not necessarily attributable to collusion. They also

question whether oddities in the French and Italian Primary

Markets    would     plausibly       reflect       collusion       across      all

Eurozone auctions (particularly considering not all Primary

Dealer Defendants participated in each Eurozone member’s

auctions), and whether the widening of Defendants’ bid-ask

spreads for Italian bonds necessarily reflects collusion

across all other Eurozone members’ bonds in the Secondary

Market. Defendants also question why non-defendants’ bid-

ask spreads appear to be wider than those of Defendants

outside of the Class Period. (Letter Motion at 1–2.)

     These are valid questions, and it may well be that

Defendants’       arguments    are    better-founded          in     the     final

analysis. But resolution of the questions requires deeply

fact-bound     findings,       and    Plaintiffs’        claims       are      not

facially     implausible      despite       the    concerns        raised.     For

example, Plaintiffs correctly note that the Court cannot

pick and choose between inferences at this stage, such as

whether the auction cycles are attributable to collusion or

not. Instead, the Court must consider whether the auction

cycles    could    plausibly     suggest         collusion;    because       they

occurred during a period in which the European Commission

suspects   collusion     occurred,         and    because     multiple       other


                                      55
plus factors increase the plausibility of collusion, the

Court has no trouble crediting Plaintiffs’ allegations at

this early stage. As the scholarship cited by Plaintiffs

observes, “[i]n an efficient market, one would . . . expect

no     predictable      bond   price        or   yield     movements        around

auctions.” Roel Beetsma et al., Price Effects of Sovereign

Debt Auctions in the Euro-Zone: The Role of the Crisis, 25

J. Fin. Intermediation 1 (cited at TAC ¶ 207 n.22). While

such expectations might ultimately be unfounded, the Court

cannot simply decide so at this stage.

       Similarly,    Plaintiffs        correctly       note   that    “the     law

does    not   require      every   defendant      to     participate    in     the

conspiracy by identical means throughout the entire class

period.” Masters v. Wilhelmina Model Agency, Inc., No. 02

Civ. 4911, 2003 WL 145556, at *5 (S.D.N.Y. Jan. 17, 2003).

Whether Plaintiffs’ illustrative use of French and Italian

auctions and trading reflects collusion with respect to all

other EGBs is likely not susceptible to proof at this early

stage,       particularly      given    the      allegations         that     most

Eurozone members do not publish information on secondary

trading       of   their     bonds.     But      considering      Plaintiffs’

allegations that the market for EGBs is highly integrated,

as     the    European      Central     Bank     itself       observed,       that


                                       56
Defendants employed the same set of traders to oversee all

EGB auctions and trading, and that those traders shared

confidential      and    commercially         sensitive       information           with

each other, the Court cannot conclude that a conspiracy

involving EGBs besides those issued by France and Italy is

implausible. (See TAC ¶¶ 113, 118, 155–57, 226.) The Court

thus declines to limit the scope of the alleged conspiracy

at this time.

      At the motion to dismiss stage, the main question is

whether     Plaintiffs     have    pleaded       to    enough       to    plausibly

suggest     an   agreement,       such    that    they       are     entitled         to

discovery.       Plaintiffs’      allegations         and    analysis          suggest

coordinated action that is at least apparently irrational,

and Plaintiffs cite a number of plus factors that tend to

support an inference of conspiracy under established law.

Accordingly, it would be inappropriate to dismiss the TAC

based only on the considerations reflected in Defendants’

foregoing arguments.

      Potentially        more    troubling       is        that    none        of    the

allegations above provide a basis to infer the culpability

of    any   specific      named     defendant.         The        Primary       Market

statistics do not distinguish the primary dealers, while

the    Secondary        Market    statistics          in     Figure       11        group


                                         57
Defendants together without specifying the extent to which

any     particular    Defendant          contributed        to    the      anomalous

variations in their collective bid-ask spreads. These are

also often average statistics, which may flatten or hide

trends    that     might     tell     different       stories.        See      Mexican

Government Bonds, 412 F. Supp. 3d at 389–90; GSE Bonds, 396

F. Supp. 3d at 364–65. These concerns might counsel that

such     evidence    simply         should     not     be    considered           when

determining      whether     a   plaintiff      has     stated        a   claim   for

antitrust conspiracy against a defendant.

        However, while the Mexican Government Bonds and GSE

Bonds     courts     noted       these      considerations            might     raise

concerns, they nevertheless held that aggregate statistics

are      not       consequently           irrelevant             or       altogether

uninformative.       The      underlying        issue       is        rather      that

aggregate      statistics        do   not      alone    suffice           to   impute

wrongful conduct to any particular defendant. See Mexican

Government     Bonds,      412   F.    Supp.    3d     at   390       (noting     that

“aggregated statistics are not irrelevant to Plaintiffs’

claim that a conspiracy existed . . . [but] in the absence

of any other allegations that would allow the Court to

infer the participation of the individual Defendants . . .

the group statistical pleadings cannot carry the day); GSE


                                         58
Bonds, 396 F. Supp. 3d at 364–65 (noting that plaintiffs’

group    statistics       “generally        support        the    allegation          of    a

price-fixing       conspiracy       .   .    .      [and    were]       sufficient         to

plausibly imply that defendants, as a group, were charging

higher    prices     than    non-defendants.               But    the       Court    cannot

infer,     from     this,    that       each       individual           defendant       was

charging higher prices.”).

        Following    the    reasoning         of     these       two    courts,       which

considered    similar       claims      of     price       fixing       in    government

bond markets, the Court thus concludes that the market-wide

statistics        above     need    not        be     disregarded.             They     are

suggestive of a conspiracy in the EGB markets.                                      But the

Court must still determine whether Plaintiffs have further

alleged that any of Defendants might have been culpable

participants in such a conspiracy. “The conspiracy could

well have involved some of [Defendants], or none of them,

or a mix of the named defendants and other [EGB] dealers.”

GSE Bonds, 396 F. Supp. 3d at 365. The TAC will state a

claim of antitrust conspiracy only if it pleads further

facts that suggest Plaintiffs should be allowed to seek

discovery     from        the      named         Defendants            in     order        to

substantiate their claims.




                                         59
        3. Allegations Tying Specific Defendants to Conspiracy

        “[T]here must be something in the complaint that ties

each     defendant        to    the    conspiracy.”              Id.   at    364.     Here,

Plaintiffs      rely      essentially          on    two    sets       of   allegations.

First, they filed this suit against Defendants based on

either     news      reports          or     particular          defendants’        public

statements revealing that Defendants or their affiliates

were    among     the      eight      banks        under    investigation           by   the

European Commission. These allegations are relevant, but as

noted     above,       they      cannot        form        the     entirety      of      the

nonconclusory allegations of Defendants’ participation in

the conspiracy. After all, the European Commission is still

investigating and has not formally alleged wrongdoing by

any defendant.

        Second,      as     additional         evidence          of    anticompetitive

agreement       in    the       Secondary          Market    for       Italian      bonds,

Plaintiffs separate the change in bid-ask spreads for four

entities    identified           as    “BAML,”       “Natixis,”         “Nomura,”        and

“UniCredit”          from       the        corresponding          changes      of        non-

defendants. This more particularized analysis in Figure 12

reveals    that      the       bid-ask      spread     of    these      four     entities

narrowed by between 28 to 66 percent between 2012 and 2013,

whereas the bid-ask spreads of all non-defendant dealers


                                              60
narrowed by less than one percent during the same period.

(See TAC ¶¶ 191–96, Figure 12.) Figure 12 thus reflects

parallel conduct on the part of four identified entities:

widening their bid-ask spreads during the Class Period and

then   dramatically     narrowing      them     in    parallel,     in   stark

contrast to the essential lack of such conduct by non-

defendants. The existence and end of this parallel conduct

coincides with the end of the conspiracy alleged by the

European Commission in its Statement of Objections. And as

noted above, unilaterally widening bid-ask spreads would be

against    the   economic     self-interest          of    a    dealer   in   a

competitive      market.     Finally,      as   Plaintiffs        note      more

generally, dealers would have an incentive to conspire in

this fashion because it would guarantee more business from

government issuers and more profits from less sophisticated

counterparties.

       These statistics allow the Court to infer a conspiracy

involving specific defendants, based on                    specific conduct

that   appears      suspicious   in     light    of       the   Statement     of

Objections    and    other   more     general    statistics        reflecting

plausibly collusive behavior in the Primary and Secondary

Markets for EGBs. But the statistics can only state a claim

as to some Defendants, as explained further below.


                                      61
       a. BANA, BAML International, and MLI

     The statistics cited above indicate suspicious pricing

behavior by an entity named “BAML”; however, at no point in

the complaint do Plaintiffs clearly identify any defendant

with this acronym. The most natural assumptions would be

one of BANA, BAML International, MLI, or some combination

of them. But the TAC does not provide enough specificity to

determine    which     of     these      entities        Plaintiffs      are

referencing, and the Court cannot simply group the three

together    without     stronger      allegations        of     an   agency

relationship between them.

     While the statistics discussed above might reasonably

be understood to refer to BAML International, the TAC must

be dismissed against that defendant for lack of personal

jurisdiction or antitrust standing in any event.

     And    though    Plaintiffs      plead    much     to    indicate   MLI

trades EGBs, there is little to indicate it had an agency

relationship    with    any   Bank      of    America    entity      besides

Merrill Lynch. There is simply no basis to clearly infer

that “BAML” refers specifically to MLI, rather than one of

the other Bank of America entities with which it does not

apparently have an agency relationship. The Court will not

conclude that MLI is a conspirator based on allegations


                                   62
that     largely        establish       only       that       MLI        is    a      market

participant.

       Similarly, Plaintiffs offer no evidence that “BAML”

should      be   construed      to     refer      to   BANA;        indeed,        the   TAC

contains almost no individualized allegations about BANA at

all. As currently pleaded, the TAC appears to use “BAML” as

a   generic      term    that       impermissibly           fails    to       distinguish

between the various Bank of America entities. Accordingly,

the    Court      will        dismiss       the    TAC       as     to        BANA,      BAML

International,          and    MLI    for     failure       to    adequately          plead

their involvement in a price-fixing conspiracy.

            b. Natixis

       In    contrast,        the    Court       has   no    trouble          determining

which Defendant the statistics for “Natixis” correspond to.

Only one Natixis entity is a defendant, and Plaintiffs have

adequately alleged that its New York-based broker-dealer

affiliate        is   its      agent     with      respect          to    EGB      trading

regardless.       Accordingly,          the      TAC   alleges       that       Natixis’s

bid-ask spreads decreased by over 66 percent at a time when

non-defendants’ spreads decreased by less than one percent,

and which corresponds to the end of the conspiracy being

investigated by the European Commission. (See TAC Figure

12.)


                                            63
        The Court notes one observation that might potentially

weigh     against     finding      Plaintiffs’         allegations     against

Natixis sufficient. While Natixis sold Italian bonds in the

secondary market, it was not a Primary Dealer participating

in the Italian government bond auctions. (See id. at Figure

4.)     However,    that     is   not       necessarily   preclusive     of    a

conspiracy. As noted above, it is well established that not

all defendants need to participate in all aspects of a

conspiracy. Based on the allegations that Defendants relied

on the same set of traders to participate in the various

Eurozone auctions, that those traders shared confidential

information    on     EGBs    with      each    other,    and   that   Primary

Dealer Defendants then determined the prices for trading in

the   Secondary      Market,      it    is    facially    plausible    that    a

defendant    could    conspire         to    quote   artificial   prices      for

bonds that it did not acquire directly from the issuer

itself. Accordingly, the Court concludes that Plaintiffs’

allegations state a claim for relief against Natixis.

          c. NatWest Markets and NMSI

        However, there is nothing at all in Figure 12 that

could be attributed to any NatWest entity. Because the TAC

does not otherwise contain any nonconclusory allegations

indicating an agreement involving NatWest Markets or NMSI,


                                        64
it must be dismissed against those two defendants (as it

already    must       be     for    lack    of    personal       jurisdiction           over

NatWest Markets).

          d. Nomura International and NSI

       The 28 percent narrowing of the bid-ask spread for

“Nomura”    also       suffices       to    state       a    claim    against      Nomura

International          and     NSI.        Admittedly,          the    reference          to

“Nomura” here conflates both Nomura International and NSI;

however, Plaintiffs’ allegations of an agency relationship

between    the        two    render     this      issue       excusable         under   the

circumstances. As discussed in Section II.B.2.e., Nomura

Holding’s       EGB    business       is    conducted         through       a    Wholesale

Division        that         includes        employees          of      both        Nomura

International          and    NSI,     and       NSI    sells     EGBs      sourced       by

primary dealer Nomura International from a shared inventory

at     prices    determined          by     Nomura          International        traders.

Because the EGB business of Nomura International and NSI

itself    seems        to    elide    a    neat        distinction,      and      because

Plaintiffs’       allegations         suggest          that    the    two       defendants

work     closely       in     the     Secondary          Market,      the       Court     is

persuaded that the agency relationship alleged permits a

reasonable inference that the statistics for “Nomura” in

Figure 12 may be attributed to Nomura International and


                                             65
NSI. And because those statistics could plausibly suggest

anticompetitive behavior for the same reasons highlighted

for Natixis, the Court concludes that the Letter Motion

must be denied as to Nomura International and NSI.

             e. UBS AG, UBS Europe, and UBS Securities

        As with NatWest Markets and NMSI, the statistics in

Figure 12 provide no basis to infer the culpability of UBS

AG, UBS Europe, or UBS Securities. Because there are no

other specific allegations in the TAC alleging wrongdoing

by   any      of     the    three      UBS    entities,     Plaintiffs’       claims

against them must be dismissed.

        The Court notes that because both MLI and UBS AG have

been dismissed, BRS would not be an efficient enforcer as

to any of the remaining defendants. Because BRS accordingly

lacks    antitrust          standing,        it   cannot    proceed    with     this

action based only on the allegations contained in the TAC.

However, the Court will order the Plaintiffs to show cause

within       twenty        days   of    this      Order    whether    an   amended

complaint might cure BRS’s lack of antitrust standing.

             f. UniCredit Bank and UCM

        As    with    Nomura,       the      statistics    in   Figure     12   that

reflect a narrowing of “UniCredit[’s]” bid-ask spread might

appropriately be attributed to both UniCredit Bank and UCM


                                             66
based    on    the    agency      relationship          between        them.     Whether

Plaintiffs         have    stated      an      antitrust        conspiracy       as     to

UniCredit Bank and UCM is moot, though, because Plaintiffs

lack antitrust standing as to both entities, as noted above

in Section II.D.2.

                                    III. ORDER

        For the reasons discussed above, it is hereby

        ORDERED     that the motion so deemed by the Court as

filed     by       defendants       Bank         of    America        Merrill        Lynch

International             Designated           Activity            Company        (“BAML

International”),           Merrill          Lynch      International            (“MLI”),

Natixis    S.A.      (“Natixis”),           NatWest     Markets        plc     (“Natwest

Markets”),            Nomura           International                 plc        (“Nomura

International”),          UBS    AG,     UBS      Europe      SE     (“UBS     Europe”),

UniCredit Bank AG (“UniCredit Bank”), Bank of America, N.A.

(“BANA”), NatWest Markets Securities Inc. (“NMSI”), Nomura

Securities International, Inc. (“NSI”), UBS Securities LLC

(“UBS     Securities”),          and     UniCredit           Capital       Markets    LLC

(“UCM”)       to    dismiss      (Dkt.      No.       110)     the     Third     Amended

Consolidated         Class      Action      Complaint         of     Plaintiffs       Ohio

Carpenters’         Pension       Fund       (“Ohio      Carpenters”),            Boston

Retirement System (“BRS”), and Electrical Workers Pension

Fund Local 103 I.B.E.W. (“Local 103,” and collectively with


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